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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 PROTECT DEMOCRACY PROJECT,
                                                                   Case No. 1:25-cv-01111
                          Plaintiff,

        v.

 U.S. OFFICE OF MANAGEMENT & BUDGET
 et al.,

                          Defendants.


   PLAINTIFF’S MOTION FOR EXPEDITED SUMMARY JUDGMENT, OR IN THE
   ALTERNATIVE A PRELIMINARY INJUNCTION OR A WRIT OF MANDAMUS

       For the reasons explained in the attached Memorandum of Law, Plaintiff Protect

Democracy Project hereby moves for expedited summary judgment under Federal Rule of Civil

Procedure 56. Should the Court conclude that expedited summary judgment cannot be entered,

Plaintiff moves for a preliminary injunction under Federal Rule of Civil Procedure 65. Finally,

should the Court determine that it cannot grant summary judgment or a preliminary injunction,

Protect Democracy respectfully requests that the Court issue a writ of mandamus.


Dated: April 22, 2025​​          ​       ​       /s/ Daniel F. Jacobson                   .




                                                 Daniel F. Jacobson (D.C. Bar # 1016621)
                                                 Kyla M. Snow*                ​
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                                                 * Not admitted in the District of Columbia.
                                                 Practiced limited to matters before U.S. courts.
                                                 (admitted pro hac vice)
                                                 Counsel for Plaintiff



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                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 22, 2025, I served the foregoing Motion for Expedited

Summary Judgment or in the Alternative a Preliminary Injunction or a Writ of Mandamus, and

all supporting documents, on Defendants’ counsel via the Court’s ECF filing system.

​      ​      ​       ​      ​       ​       ​      ​      /s/ Daniel F. Jacobson
                                                           Daniel F. Jacobson
